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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                      :
 MATTHEW MARTINEZ,                                    :
                                                      :   Case No._______________
                                                      :
                       Plaintiff,                     :
                                                      :   COMPLAINT FOR VIOLATIONS OF
             v.                                       :
                                                      :   THE FEDERAL SECURITIES LAWS
 TORTOISE ACQUISITION CORP.,                          :
                                                      :   JURY TRIAL DEMANDED
 VINCENT T. CUBBAGE, STEPHEN PANG,
 ANDREW J. OREKAR, FRANK M.                           :
                                                      :
 SEMPLE, and SIDNEY L. TASSIN,                        :
 ,                                                    :
                                                      :
                       Defendants.                    :
                                                      :


       Plaintiff Matthew Martinez (“Plaintiff”), by and through his undersigned counsel, for his

complaint against defendants, alleges upon personal knowledge with respect to himself, and upon

information and belief based upon, inter alia, the investigation of counsel as to all other allegations

herein, as follows:

                          NATURE AND SUMMARY OF THE ACTION

       1.         This is an action brought by Plaintiff against Tortoise Acquisition Corp. (“Tortoise”

or the “Company”) and the members of its Board of Directors (the “Board” or the “Individual

Defendants”) for their violations of Sections 14(a) and 20(a) of the Securities Exchange Act of

1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a), 78t(a), and U.S. Securities and Exchange

Commission (“SEC”) Rule 14a-9, 17 C.F.R. § 240.14a-9, and to enjoin the vote on a proposed

transaction, pursuant to which Tortoise will combine with privately held Hyliion Inc., through

SHLL Merger Sub Inc. (“Merger Sub”) (the “Proposed Transaction”).

       2.         On June 19, 2020, Tortoise and Hyliion issued a joint press release announcing that

Tortoise and Hyliion had entered into a Business Combination Agreement and Plan of
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Reorganization dated June 18, 2020 (the “Merger Agreement”). Under the terms of the Merger

Agreement, Merger Sub will merge with and into Hyliion, with Hyliion surviving the merger as a

wholly owned subsidiary of Tortoise. At the effective time of the merger each share of Hyliion

common stock issued and outstanding will be canceled and converted into the right to receive the

number of shares of Class A Common Stock equal to the Exchange Ratio. 1

         3.       Upon closing of the Proposed Transaction, the combined company will be named

Hyliion Holdings Corp. and remain on the New York Stock Exchange under the new ticker symbol

“HYLN.” The pro forma implied market capitalization of the combined company is over $1.5

billion, at the $10.00 per share PIPE subscription price and assuming no public stockholders of

Tortoise exercise their redemption rights. The Company will receive $560 million of proceeds

from an upsized $325 million PIPE, along with cash held in trust assuming no public stockholders

of Tortoise exercise their redemption rights at closing. Upon completion of the Proposed

Transaction: (i) Tortoise’s public stockholders (other than the initial stockholders) will own

approximately 14.39% of the combined company, (ii) PIPE investors will own approximately

19.03%; (iii) the initial stockholders who held Class B Common Stock (“Founder Shares”) prior

to Tortoise’s initial public offering (“IPO”) in March 2019 will own approximately 4.71%; and

(iv) current investors in Hyliion will own approximately 61.87%.



1   The Proxy Statement defines “Exchange Ratio” as:

         the quotient obtained by dividing (a) 100,000,000 by (b)the total number of shares
         of Hyliion Common Stock outstanding immediately prior to the Effective Time,
         expressed on a fully-diluted and as converted to Hyliion Common Stock basis, and
         including, without limitation or duplication, the number of shares of Hyliion
         Common Stock issuable upon conversion of the Hyliion Preferred Stock and
         Hyliion Convertible Notes pursuant to the Business Combination Agreement, and
         the number of shares of Hyliion Common Stock subject to unexpired, issued and
         outstanding Hyliion Options and Hyliion Options that Hyliion has committed to
         grant but has not yet granted as of immediately prior to the Effective Time.



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        4.       On September 8, 2020, Tortoise filed a Schedule 14A Definitive Proxy Statement

(the “Proxy Statement”) with the SEC.           As set forth below, the Proxy Statement, which

recommends that Tortoise stockholders vote in favor of the Proposed Transaction, omits material

information, which renders the Proxy Statement false and misleading. Defendants authorized the

issuance of the false and misleading Proxy Statement in violation of Sections 14(a) and 20(a) of

the Exchange Act.

        5.       In short, unless remedied, Tortoise’s public stockholders will be irreparably harmed

because the Proxy Statement’s material misrepresentations and omissions prevent them from

making a sufficiently informed voting decision on the Proposed Transaction. Plaintiff seeks to

enjoin the stockholder vote on the Proposed Transaction unless and until such Exchange Act

violations are cured.

                                  JURISDICTION AND VENUE

        6.       This Court has jurisdiction over the claims asserted herein for violations of Sections

14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder pursuant to

Section 27 of the Exchange Act, 15 U.S.C. § 78aa, and 28 U.S.C. § 1331 (federal question

jurisdiction).

        7.       This Court has jurisdiction over the defendants because each defendant is either a

corporation that conducts business in and maintains operations within this District, or is an

individual with sufficient minimum contacts with this District so as to make the exercise of

jurisdiction by this Court permissible under traditional notions of fair play and substantial justice.

        8.       Venue is proper in this District pursuant to 28 U.S.C. § 1391 because defendants

are found or are inhabitants or transact business in this District. Tortoise’s common stock trades

on the New York Stock Exchange which is headquartered in this District, rendering venue in this

District appropriate.



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                                         THE PARTIES

       9.       Plaintiff is, and has been at all times relevant hereto, a continuous stockholder of

Tortoise.

       10.      Defendant Tortoise is a Delaware corporation with its principal executive offices

located at 5100 W. 115th Place, Leawood, Kansas 66211. The Company is a special purpose

acquisition company formed for the purpose of effecting a merger, stock exchange, acquisition,

reorganization or similar business combination with one or more businesses. Tortoise’s common

stock trades on the New York Stock Exchange under the ticker symbol “SHLL.”

       11.      Defendant Vincent T. Cubbage (“Cubbage”) has served as the Company’s Chief

Executive Officer (“CEO”), President and director since November 2018 and as Chairman of the

Board since March 2019.

       12.      Defendant Stephen Pang (“Pang”) has served as a director of the Company since

March 2019 and as the Company’s Chief Financial Officer since January 2020.

       13.      Defendant Andrew J. Orekar (“Orekar”) has served as a director of the Company

since March 2019.

       14.      Defendant Frank M. Semple (“Semple”) has served as a director of the Company

since March 2019.

       15.      Defendant Sidney L. Tassin (“Tassin”) has served as a director of the Company

since March 2019.

       16.      Defendants identified in paragraphs 11 – 15 are referred to herein as the “Board”

or the “Individual Defendants.”

                                OTHER RELEVANT ENTITIES

       17.      Merger Sub is a Delaware corporation and a wholly owned subsidiary of Tortoise.




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       18.     Hyliion is a Delaware corporation with its principal executive offices located at

1202 BMC Drive, Suite 100, Cedar Park, Texas 78613. Hyliion designs, develops and sells

electrified powertrain solutions that can be installed on Class 8 trucks from most major commercial

vehicle original equipment manufacturers (“OEMs”).

                               SUBSTANTIVE ALLEGATIONS

Background of the Company and the Proposed Transaction

       19.     Tortoise is a special purpose acquisition company formed in November 2018 for

the purpose of effecting a merger, capital stock exchange, asset acquisition, stock purchase,

reorganization or similar business combination involving Tortoise and one or more businesses.

Tortoise’s expertise spans across the entire energy and infrastructure value chain. Its strategy is

to combine with a company to take advantage of the global opportunities created by the energy

transition including clean energy generation and storage, alternative fuels and transportation,

technological advances and changes in energy policies. On March 4, 2019, Tortoise announced

the closing of its $233,009,170 IPO, including a partial exercise of the underwriters’ option to

purchase additional units.

       20.     Hyliion designs, develops and sells electrified powertrain solutions that can be

installed on Class 8 trucks from most major commercial vehicle OEMs. Hyliion’s mission is to

be the leading provider of electrified powertrain solutions for the commercial vehicle industry. Its

goal is to reduce the carbon intensity and the greenhouse gas emissions of the transportation sector

by providing electrified powertrain solutions for Class 8 commercial vehicles at the lowest total

cost of ownership. Hyliion’s solutions utilize its proprietary battery systems, control software and

data analytics, combined with fully integrated electric motors and power electronics, to produce

electrified powertrain systems that either augment, in the case of Hyliion’s hybrid electric

powertrain systems, or fully replace, in the case of the fully electric Hypertruck Electric Range



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Extender system, traditional diesel or natural gas fueled powertrains and improve their

performance.

       21.     On June 19, 2020, Tortoise and Hyliion issued a joint press release announcing the

Proposed Transaction. The press release states, in relevant part:

       AUSTIN, Texas & LEAWOOD, Kan.--Hyliion Inc., a leader in electrified
       powertrain solutions for Class 8 commercial vehicles, announced today it intends
       to merge with Tortoise Acquisition Corp. (NYSE: SHLL), a publicly traded special
       purpose acquisition company with a strategic focus on the energy sector and
       decarbonizing commercial transportation in North America. Upon the closing of
       the transaction, the combined entity will be named Hyliion Holdings Corp. and
       remain on the New York Stock Exchange (NYSE) under the new ticker symbol
       “HYLN.”

       The merger will drive Hyliion’s corporate expansion and further the development
       and commercialization of its powertrain solutions, with the support of the
       company’s robust network of industry partners.

       “We are building solutions that are available today and address the immediate needs
       of today’s trucking fleets,” said Thomas Healy, CEO and founder of Hyliion.
       “Hyliion’s solutions were specifically developed to utilize existing infrastructure in
       an effort to support rapid technology deployment. Our mission is to enable our fleet
       customers to quickly realize lower carbon emissions and significantly lower cost of
       ownership benefits provided by our technology.”

       Founded in 2015, Hyliion has established itself as an industry leader in Class 8
       truck electrification with its hybrid and fully electric powertrain solutions capable
       of achieving a net carbon negative footprint.

       “Over the past 15 months since our IPO, we have evaluated more than 200
       companies looking for the ideal opportunity where our expertise and capital could
       be the catalyst needed to unlock the full potential of a high-growth business,” said
       Vince Cubbage, CEO and chairman of Tortoise Acquisition Corp. “We found that
       exceptional company with Hyliion—with a market-disruptive business plan,
       transformational product, and remarkable founder and CEO. We are honored that
       they made us a part of their team and are looking forward to helping them deploy
       their sustainable, electrified trucking solutions to significantly reduce emissions
       and contribute to a cleaner energy future.”

       Healy will continue as CEO of the combined company, overseeing the
       implementation of Hyliion’s corporate strategy. He is joined by Hyliion’s executive
       team: Patrick Sexton, CTO, Greg Van de Vere, CFO, and Michael Camp, COO.
       The company’s board will include existing members from Hyliion and Tortoise




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       Acquisition Corp., including Cubbage, Stephen Pang, managing director and
       portfolio manager at Tortoise Capital Advisors, Ed Olkkola, managing director at
       Teakwood Capital, Howard Jenkins, former chairman and CEO of Publix Super
       Markets, and others to be added at a later date.

       Transaction Overview

       The pro forma implied market capitalization of the combined company is over $1.5
       billion, at the $10.00 per share PIPE subscription price and assuming no public
       shareholders of Tortoise Acquisition Corp. exercise their redemption rights. The
       company will receive $560 million of proceeds from an upsized $325 million PIPE,
       along with cash held in trust assuming no public shareholders of Tortoise
       Acquisition Corp. exercise their redemption rights at closing.

       These funds will be used to accelerate product commercialization, product
       production, operational growth and for general corporate purposes. The boards of
       directors of both Tortoise Acquisition Corp. and Hyliion unanimously approved the
       transaction. Completion of the proposed transaction is subject to customary closing
       conditions and is expected to be completed around the end of the third quarter of
       2020. All existing shareholders and investors will continue to hold their equity
       ownership, including Dana, Sensata Technologies, Sumitomo Corporation of
       Americas, Axioma Ventures, FJ Management, New Era Capital Partners, Colle
       Capital Partners and others.

       Marathon Capital is serving as exclusive strategic and financial advisor, and Cooley
       LLP and Wick Phillips LLP are serving as legal advisors to Hyliion. Barclays
       Capital Inc. served as exclusive M&A advisor to Tortoise Acquisition Corp.
       Barclays Capital Inc. and Goldman Sachs & Co. LLC served as joint-placement
       agents on the PIPE offering. Vinson & Elkins L.L.P. is serving as legal advisor to
       Tortoise Acquisition Corp.

The Proxy Statement Contains Material Misstatements or Omissions

       22.     The defendants filed a materially incomplete and misleading Proxy Statement with

the SEC and disseminated it to Tortoise’s stockholders. The Proxy Statement misrepresents or

omits material information that is necessary for the Company’s stockholders to make an informed

decision whether to vote their shares in favor of the Proposed Transaction.

       23.     Specifically, as set forth below, the Proxy Statement fails to provide Company

stockholders with material information or provides them with materially misleading information

concerning: (i) Tortoise’s financial advisor, Barclays Capital Inc.’s (“Barclays”), potential




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conflicts of interest and financial analyses; and (ii) the background of the Proposed Transaction.

Accordingly, Tortoise stockholders are being asked to make a voting decision in connection with

the Proposed Transaction without all material information at their disposal.

Material Omissions Concerning the Company’s Financial Advisor’s Potential Conflicts of
Interest and Financial Analyses

       24.       The Proxy Statement fails to disclose material information concerning the

Company’s financial advisor’s potential conflicts of interest.

       25.       For example, the Proxy Statement fails to disclose material information concerning

the potential conflicts of interest faced by the Company’s financial advisor. According to the

Proxy Statement, Barclays served as Tortoise’s exclusive financial advisor and lead private

placement agent in connection with the Proposed Transaction. The Proxy Statement fails,

however, to disclose: (i) the amount of compensation Barclays has received or will receive in

connection with its engagement; (ii) the amount of Barclays’ compensation that is contingent upon

the consummation of the Proposed Transaction; and (iii) the details of any past services Barclays

has performed for any parties to the Merger Agreement or their affiliates, including the timing and

nature of such services as well as the amount of compensation received by Barclays for providing

such services.

       26.       Full disclosure of investment banker compensation and all potential conflicts is

required due to the central role played by investment banks in the evaluation, exploration,

selection, and implementation of strategic alternatives.

       27.       Moreover, the Proxy Statement fails to disclose material information concerning

any financial analysis prepared by Barclays and considered and relied upon by the Board in

connection with the Individual Defendants’ decision to approve the Proposed Transaction.




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       28.    Similarly, the Proxy Statement fails to disclose material information concerning

Tortoise management’s financial analyses. The Proxy Statement sets forth:

       In approving the business combination, the TortoiseCorp Board determined not to
       obtain a fairness opinion. The officers and directors of TortoiseCorp have
       substantial experience in evaluating the operating and financial merits of companies
       from a wide range of industries and concluded that their experience and
       background, together with experience and sector expertise of Barclays, enabled
       them to make the necessary analyses and determinations regarding the business
       combination.

Proxy Statement at 108. The Proxy Statement, however, fails to disclose any financial analysis

prepared by Tortoise management and considered and relied upon by the Board in connection with

the Individual Defendants’ decision to approve the Proposed Transaction

       29.    The omission of this information renders the statements in the “Background of the

Business Combination” and “TortoiseCorp Board’s Reasons for the Approval of the Business

Combination” sections of the Proxy Statement false and/or materially misleading in contravention

of the Exchange Act.

Material Omissions Concerning the Background of the Proposed Transaction

       30.    The Proxy Statement fails to disclose material information concerning the

background process leading to the Proposed Transaction.

       31.    For example, according to the Proxy Statement:

       By March 2020, TortoiseCorp had engaged in due diligence and discussions
       directly with the senior executives, stockholders or sponsors of 13 alternative target
       opportunities (the “Other Potential Acquisitions”), three of which were in the
       renewable and lower-emissions power generation sector, two of which were high-
       growth technology companies participating in the sustainability sector and eight of
       which were in the midstream or environmental services sector. In several cases,
       TortoiseCorp presented term sheets or illustrative transaction structures (or similar
       documentation) describing the structure or principal terms of potential business
       combinations.




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Id. at 102. Critically, the Proxy Statement fails to disclose whether the Company entered into

confidentiality agreements including standstill agreements with any of the potential acquisition

targets, and if so, whether any of the standstill provisions are still in effect and/or are “don’t ask,

don’t waive” standstill provisions. The Proxy Statement further fails to disclose the details of the

principle term sheets of a potential business combination presented to or received from other

potential acquisition targets.

       32.     This information is material to Tortoise’s stockholders as a reasonable Tortoise

stockholder would find it material and important to their voting decision to know whether or not

parties that had previously been interested in a potential combination are now foreclosed from

submitting superior proposals.

       33.     Additionally, according to the Proxy Statement it is anticipated that defendants

Cubbage and Pang will continue as directors of the combined company after the close of the

Proposed Transaction. See id. at 113. The Proxy Statement, however, fails to disclose the specific

details of all employment and retention-related discussions and negotiations that occurred between

Hyliion and Tortoise executive officers and directors, including who participated in all such

communications, when they occurred and their content. The Proxy Statement further fails to

disclose whether any of Tortoise’s proposals or indications of interest mentioned management

retention or directorship in the combined company.

       34.     Communications regarding post-transaction employment and merger-related

benefits during the negotiation of the underlying transaction must be disclosed to stockholders.

This information is necessary for Tortoise’s stockholders to understand potential conflicts of

interest of management and the Board, as that information provides illumination concerning

motivations that would prevent fiduciaries from acting solely in the best interests of the Company’s




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stockholders.

       35.      The omission of this material information renders the statements in the

“Background of the Business Combination” and “Interests of Certain Persons in the Business

Combination” sections of the Proxy Statement false and/or materially misleading in contravention

of the Exchange Act.

       36.      The Individual Defendants were aware of their duty to disclose the above-

referenced omitted information and acted negligently (if not deliberately) in failing to include this

information in the Proxy Statement. Absent disclosure of the foregoing material information prior

to the stockholder vote on the Proposed Transaction, Plaintiff and the other Tortoise stockholders

will be unable to make an informed voting decision on the Proposed Transaction and are thus

threatened with irreparable harm warranting the injunctive relief sought herein.

                                      CLAIMS FOR RELIEF

                                               COUNT I

             Claims Against All Defendants for Violations of Section 14(a) of the
                  Exchange Act and Rule 14a-9 Promulgated Thereunder

       37.      Plaintiff repeats all previous allegations as if set forth in full.

       38.      During the relevant period, defendants disseminated the false and misleading Proxy

Statement specified above, which failed to disclose material facts necessary to make the

statements, in light of the circumstances under which they were made, not misleading in violation

of Section 14(a) of the Exchange Act and SEC Rule 14a-9 promulgated thereunder.

       39.      By virtue of their positions within the Company, the defendants were aware of this

information and of their duty to disclose this information in the Proxy Statement. The Proxy

Statement was prepared, reviewed, and/or disseminated by the defendants. It misrepresented

and/or omitted material facts, including material information concerning Tortoise’s financial




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advisor’s potential conflicts of interest, the financial analyses relied upon by the Board, and the

background of the Proposed Transaction. The defendants were at least negligent in filing the Proxy

Statement with these materially false and misleading statements.

       40.     The omissions and false and misleading statements in the Proxy Statement are

material in that a reasonable stockholder would consider them important in deciding how to vote

on the Proposed Transaction.

       41.     By reason of the foregoing, the defendants have violated Section 14(a) of the

Exchange Act and SEC Rule 14a-9(a) promulgated thereunder.

       42.     Because of the false and misleading statements in the Proxy Statement, Plaintiff is

threatened with irreparable harm, rendering money damages inadequate. Therefore, injunctive

relief is appropriate to ensure defendants’ misconduct is corrected.

                                             COUNT II

                 Claims Against the Individual Defendants for Violations of
                            Section 20(a) of the Exchange Act

       43.     Plaintiff repeats all previous allegations as if set forth in full.

       44.     The Individual Defendants acted as controlling persons of Tortoise within the

meaning of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as

officers and/or directors of Tortoise, and participation in and/or awareness of the Company’s

operations and/or intimate knowledge of the false statements contained in the Proxy Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision-making of the Company, including the content and

dissemination of the various statements which Plaintiff contends are false and misleading.

       45.     Each of the Individual Defendants was provided with or had unlimited access to

copies of the Proxy Statement and other statements alleged by Plaintiff to be misleading prior to




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and/or shortly after these statements were issued and had the ability to prevent the issuance of the

statements or cause the statements to be corrected.

       46.     In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of the Company, and, therefore, is presumed to have had

the power to control or influence the particular transactions giving rise to the securities violations

as alleged herein, and exercised the same. The Proxy Statement at issue contains the unanimous

recommendation of each of the Individual Defendants to approve the Proposed Transaction. They

were, thus, directly involved in the making of the Proxy Statement.

       47.     In addition, as the Proxy Statement sets forth at length, and as described herein, the

Individual Defendants were each involved in negotiating, reviewing, and approving the Proposed

Transaction. The Proxy Statement purports to describe the various issues and information that

they reviewed and considered—descriptions the Company directors had input into.

       48.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       49.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and SEC Rule 14a-

9, promulgated thereunder, by their acts and omissions as alleged herein. By virtue of their

positions as controlling persons, these defendants are liable pursuant to Section 20(a) of the

Exchange Act. As a direct and proximate result of defendants’ conduct, Tortoise’s stockholders

will be irreparably harmed.

                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff demands judgment and preliminary and permanent relief,

including injunctive relief, in his favor on behalf of Tortoise, and against defendants, as follows:




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       A.      Preliminarily and permanently enjoining defendants and all persons acting in

               concert with them from proceeding with, consummating, or closing the Proposed

               Transaction and any vote on the Proposed Transaction, unless and until defendants

               disclose and disseminate the material information identified above to Tortoise

               stockholders;

       B.      In the event defendants consummate the Proposed Transaction, rescinding it and

               setting it aside or awarding rescissory damages to Plaintiff;

       C.      Declaring that defendants violated Sections 14(a) and/or 20(a) of the Exchange Act,

               as well as SEC Rule 14a-9 promulgated thereunder;

       D.      Awarding Plaintiff the costs of this action, including reasonable allowance for

               Plaintiff’s attorneys’ and experts’ fees; and

       E.      Granting such other and further relief as this Court may deem just and proper.




                                        JURY DEMAND

Plaintiff demands a trial by jury.
 Dated: September 16, 2020                                WEISSLAW LLP

                                                    By
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